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                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION

                                                       §
In re:                                                 §        Chapter 11
                                                       §
CORE SCIENTIFIC, INC., et al.,                         §        Case No. 22-90341 (DRJ)
                                                       §
                                                       §        (Jointly Administered)
                   Debtors. 1                          §
                                                       §        Re: Docket No. 1260

                 SUPPLEMENT AND REQUEST FOR EMERGENCY
              RELIEF WITH RESPECT TO MOTION OF DEBTORS FOR
          AUTHORITY TO ENTER INTO LEASE AND RELATED AGREEMENTS
       EMERGENCY RELIEF HAS BEEN REQUESTED. RELIEF IS REQUESTED NOT
       LATER THAN TUESDAY, OCTOBER 10, 2023.

       IF YOU OBJECT TO THE RELIEF REQUESTED OR YOU BELIEVE THAT
       EMERGENCY CONSIDERATION IS NOT WARRANTED, YOU MUST APPEAR AT
       THE HEARING IF ONE IS SET, OR FILE A WRITTEN RESPONSE PRIOR TO THE
       DATE THAT RELIEF IS REQUESTED IN THE PRECEDING PARAGRAPH.
       OTHERWISE, THE COURT MAY TREAT THE PLEADING AS UNOPPOSED AND
       GRANT THE RELIEF REQUESTED.

       A HEARING WILL BE CONDUCTED ON THIS MATTER ON TUESDAY,
       OCTOBER 10, 2023 AT 1:00 P.M. (CENTRAL PREVAILING TIME) IN COURTROOM
       400, 4TH FLOOR, 515 RUSK AVENUE, HOUSTON, TX 77002.

       YOU MAY PARTICIPATE IN THE HEARING EITHER IN PERSON OR BY AN
       AUDIO AND VIDEO CONNECTION. AUDIO COMMUNICATION WILL BE BY USE
       OF THE COURT’S DIAL-IN FACILITY. YOU MAY ACCESS THE FACILITY AT 832-
       917-1510. ONCE CONNECTED, YOU WILL BE ASKED TO ENTER THE
       CONFERENCE ROOM NUMBER.          JUDGE JONES’S CONFERENCE ROOM
       NUMBER IS 205691. VIDEO COMMUNICATION WILL BE BY USE OF THE
       GOTOMEETING PLATFORM. CONNECT VIA THE FREE GOTOMEETING
       APPLICATION OR CLICK THE LINK ON JUDGE JONES’S HOME PAGE. THE
       MEETING CODE IS “JUDGEJONES”. CLICK THE SETTINGS ICON IN THE UPPER
       RIGHT CORNER AND ENTER YOUR NAME UNDER THE PERSONAL
       INFORMATION SETTING.

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    The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
    number, are as follows: Core Scientific Mining LLC (6971); Core Scientific, Inc. (3837); Core Scientific Acquired
    Mining LLC (6074); Core Scientific Operating Company (5526); Radar Relay, Inc. (0496); Core Scientific
    Specialty Mining (Oklahoma) LLC (4327); American Property Acquisition, LLC (0825); Starboard Capital LLC
    (6677); RADAR LLC (5106); American Property Acquisitions I, LLC (9717); and American Property Acquisitions
    VII, LLC (3198). The Debtors’ corporate headquarters and service address is 210 Barton Springs Road, Suite 300,
    Austin, Texas 78704.
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       HEARING APPEARANCES MUST BE MADE ELECTRONICALLY IN ADVANCE OF
       BOTH ELECTRONIC AND IN-PERSON HEARINGS.         TO MAKE YOUR
       APPEARANCE, CLICK THE “ELECTRONIC APPEARANCE” LINK ON JUDGE
       JONE’S HOME PAGE. SELECT THE CASE NAME, COMPLETE THE REQUIRED
       FIELDS AND CLICK “SUBMIT” TO COMPLETE YOUR APPEARANCE.

                   Core Scientific, Inc. and its debtor affiliates, as debtors and debtors in possession

in the above-captioned chapter 11 cases (collectively, the “Debtors”), pursuant to rule 9013 of the

Bankruptcy Local Rules for the United States Bankruptcy Court for the Southern District of Texas

(the “Bankruptcy Local Rules”) and paragraphs 17–18 of the Procedures for Complex Cases in

the Southern District of Texas, hereby file this supplement and request for emergency relief

(this “Supplement”) with respect to the Motion of Debtors for Authority to Enter Into Lease and

Related Agreements, dated September 23, 2023 (Docket No. 1260) (the “Motion”) 2 and request

entry of an order, substantially similar to the form attached hereto as Exhibit A (the “Proposed

Order”), authorizing the relief requested in the Motion and this Supplement, and respectfully

represent as follows:

                             Supplement and Request for Emergency Relief

                   1.      Following the filing of the Motion, the Debtors determined that emergency

consideration thereof is necessary. Pursuant to Section 3 of the Cottonwood II Lease, the Landlord

may terminate the Cottonwood II Agreements if the Court does not approve the Cottonwood II

Agreements and the payment of the Consideration (as defined in the Cottonwood II Lease) on or

before October 16, 2023. The Motion was filed on September 23, 2023 and the current deadline

to object to the Motion is October 16, 2023. Consequently, absent emergency consideration, the




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    Capitalized terms used but not otherwise defined herein have the meanings ascribed to such terms in the Motion.
    The Motion is incorporated by reference herein in its entirety.


                                                         2
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Debtors will be unable to obtain entry of the Proposed Order on or before October 16, 2023, in

which case the Landlord may terminate the Cottonwood II Agreements.

                   2.       As described in the Motion, the Debtors require entry into the Cottonwood

II Agreements so that they may continue energizing the Cottonwood Facility and further expand

their Mining Operations thereon. Most importantly, without the Transmission Easement, the

Debtors are not able to transmit energy from the electrical grid to the Cottonwood Substation,

which is necessary to energize and continue Mining Operations at the Cottonwood Facility,

including the Cottonwood I Property, which the Debtors have spent in excess of $70,000,000

developing to date and currently is the site of over 12,000 miners engaged in Mining Operations.

Consequently, the Debtors submit that emergency consideration of the relief requested in the

Proposed Order is necessary and appropriate.

                   3.       To avoid the irreparable harm that the Debtors and their estates will suffer

absent Court-approval of the Cottonwood II Agreements, the Debtors file this Supplement and

respectfully request that the Court consider the relief requested in the Proposed Order on an

emergency basis at the hearing scheduled on October 10, 2023 (the “Hearing”). 3

                                                       Notice

                   4.       Notice of this Supplement will be provided to any party entitled to notice

pursuant to Bankruptcy Rule 2002 and any other party entitled to notice pursuant to Bankruptcy

Local Rule 9013-1(d).




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    The Debtors intend to file an accompanying declaration in support of the Motion prior to the Hearing and will make
    the declarant available for cross examination at the Hearing.


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               WHEREFORE, the Debtors respectfully request entry of the Proposed Order

granting the relief requested herein and in the Motion and further relief as the Court may deem just

and appropriate.

Dated: October 4, 2023
       Houston, Texas
                                              Respectfully submitted,

                                              /s/ Alfredo R. Pérez
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                                              Attorneys for Debtors
                                              and Debtors in Possession
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                                    Certificate of Service

I hereby certify that on October 4, 2023, a true and correct copy of the foregoing document was
served by the Electronic Case Filing System for the United States Bankruptcy Court for the
Southern District of Texas.



                                                    /s/ Alfredo R. Pérez
                                                    Alfredo R. Pérez
